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 1    JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
 2
      YOO & GOLUBCHIK L.L.P.                                    FILED & ENTERED
 3    2818 La Cienega Avenue
      Los Angeles, California 90034
 4    Telephone: (310) 229-1234                                          JAN 20 2022
 5    Facsimile: (310) 229-1244
      Email: JPF@LNBYG.COM                                          CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
 6                                                                  BY wesley DEPUTY CLERK
     Proposed Attorneys for Chapter 11 Debtor
 7   and Debtor in Possession
 8
 9                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10                                 LOS ANGELES DIVISION
11
12   In re                                       )   Case No. 2:22-bk-10266-BB
                                                 )
13   ESCADA AMERICA LLC,                         )   Chapter 11
                                                 )   Subchapter V
14            Debtor and Debtor in Possession.   )
                                                 )   ORDER GRANTING DEBTOR’S
15                                               )   EMERGENCY MOTION FOR ENTRY OF
16                                               )   AN ORDER AUTHORIZING DEBTOR
                                                 )   TO (A) REJECT CERTAIN UNEXPIRED
17                                               )   NON-RESIDENTIAL REAL PROPERTY
                                                 )   LEASES PURSUANT TO 11 U.S.C. § 365,
18                                               )   AND (B) ABANDON ANY REMAINING
                                                 )   PERSONAL PROPERTY LOCATED AT
19                                               )   THE LEASED PREMISES
20                                               )
                                                 )   Hearing:
21                                               )   Date: January 20, 2022
                                                 )   Time: 10:00 a.m.
22                                               )   Place: Courtroom 1539
                                                 )          255 East Temple Street
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                                                 )          Los Angeles, CA 90012
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 1          On January 20, 2022, at 10:00 a.m., the Honorable Sheri Bluebond, United States

 2   Bankruptcy Judge for the Central District of California (the “Court”), held a hearing (the

 3   “Hearing”) in Courtroom 1539 of the United States Bankruptcy Courthouse located at 255 East

 4   Temple Street, Los Angeles, California, to consider the emergency motion (the “Motion”), for

 5   entry of an order authorizing Escada America LLC (the “Debtor”), the debtor and debtor in

 6   possession in the above-captioned, chapter 11 bankruptcy case, to reject those unexpired non-

 7   residential real property leases identified in Exhibit “6” to the Motion (collectively, the “Leases,”

 8   and individually, a “Lease”). Appearances at the hearing on the Motion were made as set forth on

 9   the record of the Court.

10          The Court, having read and considered the Motion and all papers in support of the Motion,

11   including the declaration of Kevin Walsh (the “Declaration”) and the statement of counsel made

12   orally at the hearing, the record in the case, the docket in the case, and for good cause appearing,

13   therefor,

14          HEREBY FINDS that notice of the Motion and Hearing were good and proper under

15   the circumstances and pursuant to the Bankruptcy Code, Federal Rules of Bankruptcy

16   Procedure, and Local Bankruptcy Rules, and

17          HEREBY ORDERS AS FOLLOWS:

18          (1)     The Motion is GRANTED as set forth in this Order;

19          (2)     The Debtor is authorized to reject each of the Leases for the Closing Stores (as that

20                  term is defined in the Motion):
21
22   Landlord/Counterparty                      Real Property Address
     Ala Moana Anchor Acquisition, LLC          1450 Ala Moana Blvd, Honolulu, HI 96814
23   Las Vegas North Outlets, LLC               875 South Grand Central Pkwy, Las Vegas, NV 89106
24   Premium Outlet Partners, L.P.              48650 Seminole Dr, Cabazon, CA 92230
     Sawgrass Mills Phase IV, L.L.C.            1800 Sawgrass Mills Cir, Sunrise, FL 33323
25   Woodbury Common Premium Outlets            347 Red Apple Ct, Central Valley, NY 10917
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 1           (3)     Each unexpired lease of non-residential real property identified in Exhibit 6 to the

 2                   Motion shall be deemed rejected pursuant to 11 U.S.C. § 365(a) as of the date

 3                   possession of the subject premises is turned over to the landlord, with turnover of

 4                   possession being established either through the turnover of keys to the landlord or

 5                   by way of written notice (which written notice may be given by email) to the

 6                   landlord that the property has been surrendered.

 7           (4)     The Debtor is authorized to abandon any of its remaining personal property assets

 8                   located at the Closing Stores.

 9           (5)     Upon surrender of possession to the landlord, any remaining personal property at

10                   the surrendered location shall be deemed abandoned and the automatic stay will be

11                   deemed to be terminated so as to permit the landlords to dispose of any such

12                   remaining personal property left at the premises in the landlord’s sole discretion

13                   without any notice and without any liability whatsoever.

14           SO ORDERED.

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24   Date: January 20, 2022

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